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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE




 In re:


 Application of Storag Etzel GmbH for an            Misc. C.A. No. 19-mc-209-CFC
 Order, Pursuant to 28 U.S.C. § 1782, to
 Obtain Discovery for Use in a Foreign
 Proceeding



                      REPORT AND RECOMMENDATION

 Rodney A. Smolla, Special Master

          The District Court assigned this matter to the Special Master in a

 Memorandum Order entered on January 23, 2020. (D.I. 40). The Special Master

 was appointed to address a pending unopposed motion for leave to file a Sur-Reply

 Brief under seal (D.I. 38), to address the propriety of redactions in various

 submissions filed by both parties under prior similar unopposed motions to file under

 seal (D.I. 22, 23, 24, 36, and 37), and to address any future filings submitted by either

 party accompanied by motions to file under seal.1


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   The submissions of Storag and Baker Hughes on the issues assigned to the Special
 Master were submitted under seal, to preserve the confidentiality of material claimed
 to be justifiably sealed while those secrecy claims were themselves being litigated.
 For the same reason, this Report and Recommendation has also been initially filed

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       The District Court’s order broadly instructed the Special Master to determine

 whether the redacted filings comply with the legal principles that govern the sealing

 of documents filed in federal judicial proceedings as established by the Supreme

 Court of the United States and the United States Court of Appeals for the Third

 Circuit. Memorandum Order (D.I. 40, at 4).

                                    I. Background

       This proceeding was brought by the Applicant Storag Etzel GmbH pursuant

 to 28 U.S.C. § 1782, seeking to obtain discovery from Baker Hughes, a GE

 Company, LLC. Section 1782 is a federal statute empowering federal district courts

 to order discovery for use in foreign proceedings, granting district courts the

 discretion to order “testimony or statement or to produce a document or other thing

 for use in a proceeding in a foreign or international tribunal.” Id. § 1782(a).

       Storag is in the business of developing, operating, maintaining, and marketing

 underground gas storage caverns for the storage of natural gas. Baker Hughes, a

 Delaware limited liability company, provided equipment to Storag to be used in the

 operation of Storag’s natural gas storage facilities. Storag claimed the equipment

 was defective. This led to two successive arbitration actions in Germany, conducted




 under seal, pending review. To the extent that the recommendations for unsealing
 are adopted and affirmed, the submissions to the Special Master and this Report and
 Recommendation should also be unsealed.
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 under the auspices of the German Arbitration Institute, the English-language

 translation for “Deutsche Institution für Schiedsgerichstbarkeit,” or “DIS.”

       The first German arbitration ended with an award of declaratory relief for

 Storag against Baker Hughes, to compensate Storag for all damages arising from the

 allegedly defective equipment. Storag and Baker Hughes, however, subsequently

 disputed the obligations of Baker Hughes under the first German arbitration, leading

 to a second arbitration before DIS, pending at the time Storag filed its § 1782

 application in this Court.

       Storag asserts in its § 1782 application that discovery against Baker Hughes

 is warranted because Baker Hughes allegedly possesses documents and information

 highly relevant to the pending German arbitration proceedings. Baker Hughes

 vigorously contests the application for § 1782 relief, interposing various legal and

 factual arguments.

       Among the legal issues central to the dispute regarding the appropriateness of

 providing Storag relief under § 1782 is the threshold question of whether a private

 foreign arbitral forum such as DIS qualifies as a “foreign or international tribunal”

 within the meaning of § 1782(a). There is some division among decisions nationwide

 as to whether such proceedings do or do not fall within the statutory term “foreign

 or international tribunal,” particularly as interpreted by the Supreme Court’s seminal

 decision applying § 1782, Intel Corporation v. Advanced Micro Devices, Inc., 542


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 U.S. 241 (2004). Compare In re Application to Obtain Discovery for Use in Foreign

 Proceedings, 939 F.3d 710, 726 (6th Cir. 2019) (A foreign commercial arbitration

 panel conducted by the Dubai International Financial Centre-London Court of

 International Arbitration was a “foreign or international tribunal” within the

 coverage of § 1782); with Republic of Kazakhstan v. Biedermann International, 168

 F.3d 880, 883 (5th Cir. 1999) (Private international arbitrations do not fall within the

 compass of § 1782); and National Broadcasting Co., Inc. v. Bear Stearns & Co.,

 Inc., 165 F.3d 184 (2d Cir. 1999) (A commercial arbitration conducted in Mexico

 under the auspices of the International Chamber of Commerce, a private

 organization headquartered in France, was not a “proceeding in a foreign or

 international tribunal” within the meaning of § 1782).

       Within this United States District Court, Judge Richard G. Andrews issued a

 recent decision noting the split of authority and holding that a private arbitral tribunal

 does not qualify. In re Application of Ewe Gasspeicher GmbH, No. CV 19-MC-109-

 RGA, 2020 WL 1272612, at *2 (D. Del. Mar. 17, 2020) (“While there are reasonable

 arguments on both sides of the debate, I hold that a private commercial arbitration is

 not a ‘tribunal’ within the meaning of § 1782.”).

       Storag and Baker Hughes have submitted extensive briefing and supporting

 declarations and exhibits to the District Court advancing their conflicting positions

 on the merits of Storag’s § 1782 application. From the initial commencement of the


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 Application of Storag, through the ultimate appointment of a Special Master by the

 District Court, both Storag and Baker Hughes have expansively sought to present

 their legal and factual submissions under seal.

       The very first document filed on the docket in this matter, for example, was

 Applicant Storag’s “Motion for Leave to File Under Seal,” which was filed on

 August 29, 2019. Subsequent substantive filings by both Storag and Baker Hughes

 have been similarly accompanied by motions that sought permission to submit the

 filings under seal. Effectively, both Storag and Baker Hughes sought to conduct the

 pending § 1782 litigation largely out of public view.

       This case was originally assigned to District Judge Andrews. In Storag’s

 initial Motion for Leave to File Under Seal, Storag asserted as its basis for sealing

 the confidentiality protocols set forth in the German DIS Rules. Storag specifically

 relied on DIS Article 44.1, which provides:

       Unless the parties agree otherwise, the parties and their outside counsel,
       the arbitrators, the DIS employees, and any other persons associated
       with the DIS who are involved in the arbitration shall not disclose to
       anyone any information concerning the arbitration, including in
       particular the existence of the arbitration, the names of the parties, the
       nature of the claims, the names of any witnesses or experts, any
       procedural orders or awards, and any evidence that is not publicly
       available.

 (D.I. 1, at 3), quoting 2018 DIS Arbitration Rules, Art. 44.1 (March 1, 2018),

 available at http://www.disarb.org/upload/rules/2018-DIS-Arbitration-Rules.pdf.



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        Storag argued that it was “compelled . . . to maintain confidentiality over

 information that will necessarily be contained in the Application and associated

 documents.” (D.I. 1, at 3). Storag thus sought leave to file its documents “under

 seal to ensure it maintains the confidentiality of the information protected by Article

 44.1 of the DIS Rules to the extent reasonably possible.” Id. To reinforce its

 submission, Storag noted that “[u]nder German law, potential consequences of

 proven breaches of such confidentiality obligations can include contractual or

 tortious damages claims, as well as fines for breaches of statutory obligations.” Id.

 at n. 3.

            Storag’s initial motion to file under seal asserted that its submissions to the

 District Court do not in themselves breach the confidentiality conditions imposed by

 the German DIS arbitral rules, citing an exception that permits disclosure to a court

 or to the parties of a legal dispute to enforce a party’s rights. Id. at n. 2. (“German

 law recognizes a general exception to any duty of confidentiality where a party has

 to disclose confidential information to pursue its legitimate interests, such as the

 disclosure of information to a court or to the parties of a legal dispute in order to

 enforce a party’s rights.”), citing KYRIAKI NOUSSIA, CONFIDENTIALITY                   IN

 INTERNATIONAL ARBITRATION: A COMPARATIVE ANALYSIS OF THE POSITION UNDER

 US, GERMAN, AND FRENCH LAW 67 (2010) (“Even if the parties are obligated to treat

 the information disclosed, in the arbitral proceedings, as confidential, further


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 exceptions, to the parties’ duty of confidentiality, relate to the protection of the

 legitimate interests of the parties.”). This meant, Storag asserted, that “the disclosure

 of information by Applicant to this Court does not constitute a breach of its

 confidentiality obligations.” (D.I. 1, at 3, n.2).

       On August 29, 2019, the same day that Storag filed its opening Motion for

 Leave to File Under Seal, Judge Andrews denied the Motion. In a brief notation,

 Judge Andrews wrote: “I do not think German arbitration rules provide good cause

 for sealed proceedings in U.S. Courts. But that’s the only reason offered.” (D.I. 7).

       Shortly thereafter, the case was reassigned to District Judge Colm Connolly.

 Judge Connolly denied Storag’s Motion for Reconsideration of its sealing request.

 (D.I. 11).   Following reassignment, the Court rejected Storag’s application to

 proceed ex parte, and ordered that notice of the proceedings be provided to Baker

 Hughes. Once Baker Hughes was brought in, and the matter proceeded with both

 parties litigating, the consistent practice of both Baker Hughes and Storag was to

 submit substantive filings accompanied by unopposed motions for leave to file under

 seal. These included: a sealed Memorandum in Opposition filed by Baker Hughes

 (D.I 18, redacted version D.I. 22); a sealed Declaration, with Exhibits, in support of

 its Memorandum in Opposition, filed by Baker Hughes (D.I. 19, redacted version

 D.I 23); a sealed Declaration of Andrew Zeve, with Exhibits, filed by Baker Hughes

 (D.I. 20, redacted version D.I. 24); a sealed Reply Brief, filed by Storag (D.I. 33,


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 redacted version D.I. 36); a sealed Declaration in Support of the Application, filed

 by Storag (D.I. 34, redacted version D.I. 37); and a sealed Sur-Reply Brief, filed by

 Baker Hughes (D.I. 39, redacted version D.I. 41).

       In submitting their various unopposed motions for leave to file their

 submissions under seal, both Storag and Baker Hughes continued to rely heavily

 upon the confidentiality rules that govern German DIS arbitration proceedings. For

 example, in the unopposed motion filed by Baker Hughes for leave to file its Sur-

 Reply under seal (D.I. 38), Baker Hughes argued that “good cause” existed to seal

 its submission, given the “strict confidentiality and broad restrictions governing the

 Underlying Proceedings” being conducted in Germany. (D.I. 38, at 3). In advancing

 its unopposed motion to file its Sur-Reply under seal, Baker Hughes recognized “that

 the Court previously denied Storag’s initial motion for leave to file under seal, and

 subsequent motion for reconsideration.” (D.I. 38, at 3). Yet “notwithstanding the

 rulings on Storag’s initial motions,” Baker Hughes asserted, “good cause exists” to

 seal its Sur-Reply. (D.I. 38, at 3).

       The District Court did not rule on the unopposed motion of Baker Hughes to

 file its Sur-Reply under seal. The Court instead issued a Memorandum Order on

 January 23, 2020, appointing a Special Master to address Baker Hughes’s unopposed

 motion to file its Sur-Reply under seal, to address any future motions to seal filings,

 and to determine whether the redacted filings previously filed, in some instances by


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 Storag and in others by Baker Hughes (D.I. 22, 23, 24, 36, and 37), “comply with

 Supreme Court and Third Circuit law.” Memorandum Order, January 23, 2020, at 4.

 (D.I. 40).

       The Court’s Memorandum Order appointing a Special Master contained a

 number of observations that provided additional context for the appointment. The

 Court observed:

       Unopposed motions to seal are filed regularly with this Court. Judge
       Andrews noted recently that “[i]n [his] experience, corporate parties in
       complex litigation generally prefer to litigate in secret.” Takeda Pharm.
       U.S.A., Inc. v. Mylan Pharm., Inc., Civ. Act. No. 19-2216-RGA (Dec.
       19, 2019) at 1. I similarly find that parties in my civil cases routinely
       ask to seal pleadings that cannot reasonably be characterized as
       disclosing confidential or proprietary information. And in my (albeit
       short) tenure on the bench, I cannot recall a party in a civil case
       opposing a request to seal or objecting to the scope of redactions in the
       public version of a pleading that was filed pursuant to an order that
       granted a motion to seal.

       The District Court is not a star chamber. We are a public institution in
       a democratic republic and the public has a right of access to our filings.
       That right is founded in the common law and “antedates the
       Constitution.” Bank of Am. Nat’l Tr. & Sav. Ass’n v. Hotel Rittenhouse
       Assocs., 800 F.2d 339, 343 (3d Cir. 1986). The public’s right of access
       is not absolute; but it is strongly presumed, and it can be overcome only
       if a party demonstrates that public disclosure of a filing will result in “a
       clearly defined and serious injury.” In re Avandia Mktg., Sales
       Practices & Prod. Liab. Litig., 924 F.3d 662,672 (3d Cir. 2019).

       The problem I encounter with unopposed motions to seal pleadings is
       threefold. First, it falls solely on me to scrutinize the proffered
       justification for the motion without the benefit of the industry
       knowledge that is often necessary to determine if a clearly defined and
       serious injury would result if I denied the motion. Second, if I grant the
       motion—and I almost always do—it falls solely on me to scrutinize the
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        redactions in the movant's subsequently filed public version of the
        pleading. Here again, I lack industry knowledge to guide me in
        assessing whether the proposed redactions are necessary to avoid a
        clearly defined and serious injury. Third, because of my caseload, I lack
        time. I currently have on my docket 582 civil cases (including 288
        patent cases, of which 119 are Abbreviated New Drug Act cases), 22
        criminal cases, 10 miscellaneous actions, and 342 pending motions. I
        have 32 trials and 25 patent claim construction hearings scheduled for
        the remainder of this year. I simply do not have the time to review
        parties’ proposed redactions in a meaningful way to ensure that those
        redactions do not violate the public’s right of access.

  Memorandum Order (D.I. 40, at 1-3).

        The material the parties seek to seal and redact is, to a substantial extent,

  already in the public domain. In this litigation, the Order by Judge Andrews on

  August 29, 2019, which denied Storag’s initial motion to file under seal, had the

  effect of immediately releasing into the public domain, on this Court’s public docket,

  all of the filings that were submitted to that point. Those now-public filings included

  as an exhibit to a Declaration filed in support of its initial§ 1782 application, an

  exhibit containing the entire First Arbitration Award rendered by the DIS in

  Germany. (D.I. 5, Exhibit C). Storag sought to have this Declaration, and the

  accompanying exhibits, including the telltale Exhibit C, sealed. The Court rejected

  Storag’s sealing motion, and Exhibit C has since been in the public domain, for all

  the world to see.

        Additionally, litigation related to the dispute was also filed in the United

  States District Court for the Southern District of Texas. Triuva v. Baker Hughes,


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  Inc., Civil No.H-15-2774 (S.D. Tex. 2017). Many of the filings that were already

  submitted in the Texas litigation are available to the public on the docket of the

  District Court for the Southern District of Texas, and some of the information the

  parties seek to file under seal in this Delaware District Court litigation is also already

  in the public domain accessible on the public docket of the United States District

  Court for the Southern District of Texas.

                           II. The Submissions of the Parties

  A.    The Parties’ Characterizations of the Sealed and Redacted Material

        Storag has characterized its redactions as falling within five discrete

  categories: (1) information concerning the German DIS Tribunal’s procedural

  orders; (2) information that would identify the nature of the parties’ claims in the

  German arbitration; (3) information that would identify the parties to the arbitration;

  (4) information concerning the existence of the arbitration; and (5) information

  concerning the Award in the First Arbitration. Storag Submission on the Special

  Master’s Assigned Duties at 4-5.

        Baker Hughes identifies two categories of information that merit sealing.

  “The first category is specific information regarding the underlying Arbitration.”

  Baker Hughes Brief at 4. According to Baker Hughes, this is information “which

  Storag never should have disclosed in the first place, even to the District Court.” Id.

  The second category “is commercially-sensitive information regarding certain


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  contracts and the performance thereunder.” Id. Baker Hughes argues that “[n]one

  of this information is necessary in order for the public to understand any rulings by

  the Court on Storag’s Application.” Id.

  B.    Summary of the Parties’ Positions

        Storag’s argument for continued sealing and redaction is largely a reprise of

  its prior submissions to the Court regarding sealing. Storag relies principally on the

  confidentially mandate that it asserts is required under the German DIS arbitration

  rules. Storag Submission at 3-5. To reinforce its position, Storag makes an

  additional related argument that the contractual agreement between the parties to

  submit any disputes arising from the underlying contract to private DIS arbitration

  in Germany constitutes a “a binding contractual obligation” not to disclose certain

  information, to which this Court is required to defer. Id.

        Baker Hughes also broadly supports extensive sealing and redactions. The

  arguments advanced by Baker Hughes with regard to the first category it identifies—

  information “regarding the underlying Arbitration”—are in many respects in

  alignment with those advanced by Storag. Both parties generally claim that the

  German DIS confidentiality rules should dictate policy, and this Court should defer

  to those rules. Baker Hughes thus asserts that “the German parties specifically

  contracted to resolve any disputes outside of the public view and to keep confidential

  any information related to such private proceedings,” an argument essentially


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  identical to the position on this issue advanced by Storag. Baker Hughes Brief at 6.

        In a more nuanced sense, however, the position of Baker Hughes regarding

  information concerning the underlying German DIS proceedings is adversarial to

  Storag. Baker Hughes blames Storag for the entire problem facing this Court. A

  resonant leitmotif of the argument advanced by Baker Hughes is that Storag

  breached Storag’s confidentiality obligations by the very commencement of this §

  1782 proceeding. Baker Hughes argues that it should not have its privacy and

  confidentiality expectations upended by what it considers to be Storag’s

  impermissible maneuver in filing its §1782 application, which placed the German

  DIS confidentiality rules in tension with the principles favoring public access that

  apply in American federal courts. See Baker Hughes Brief at 1, 3, 4, 5, 9, 11.2

                           III. Applicable Legal Principles

  A.    The Three Tiers of Review

        Three discrete bodies of law govern the principles pertaining to

  confidentiality, sealing, and redactions of documents in federal court litigation.

  They apply in ascending orders of scrutiny.

        First, there are principles governing the issuance of protective orders in federal

  litigation. These principles emanate from Rule 26(c) of the Federal Rules of Civil


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   The arguments of the parties, including engagement with their proffered legal
  authorities, are discussed in greater detail in the portion of this Report and
  Recommendation applying the applicable legal principles to this record.
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  Procedure, and the attendant gloss courts have applied to the application of Rule

  26(c). See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 783-92 (3d Cir. 1994).

        Second, federal courts recognize a common law right of access to judicial

  records. “The existence of a common law right of access to judicial proceedings and

  to inspect judicial records is beyond dispute.” Publicker Industries, Inc. v. Cohen,

  733 F.2d 1059, 1066 (3d Cir. 1984). There is a “presumption in favor of access to

  ‘public records and documents, including judicial records and documents.’” Bank of

  America National Trust & Savings Association v. Hotel Rittenhouse Associates, 800

  F.2d at 343, quoting Nixon v. Warner Communications, Inc., 435 U.S. 589, 597

  (1978).

        Third, “the public and the press have a First Amendment right of access to

  civil trials.” Avandia, 924 F.3d at 673, citing Publicker, 733 F.2d at 1070. “[T]he

  First Amendment, independent of the common law, protects the public’s right of

  access to the records of civil proceedings.” Republic of Philippines v. Westinghouse

  Electric Corporation, 949 F.2d 653, 659 (3d Cir. 1991), citing Publicker, 733 F.2d

  at 1070. “The First Amendment right of access requires a much higher showing than

  the common law right to access before a judicial proceeding can be sealed.” In re

  Cendant Corp., 260 F.3d at 198 n. 13. Any restriction on the First Amendment right

  of public access is “‘evaluated under strict scrutiny.’” Avandia, 924 F.3d at 673,

  quoting PG Publishing Company v. Aichele, 705 F.3d 91, 104 (3d Cir. 2013).


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  B.    Protective Orders

        Rule 26 of the Federal Rules of Civil Procedure permits the District Court to

  enter a protective order to shield a party “from annoyance, embarrassment,

  oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

        The matters here pending before the District Court and referred to the Special

  Master do not involve any motion for a protective order. Even so, as the Third

  Circuit’s decision in Avandia emphasized, it is worth reciting the standards

  applicable to motions for protective orders, as a foil against which to contrast the

  more rigorous standards imposed by the common law and the First Amendment.

  Avandia, 924 F.3d at 673.

        Within the Third Circuit, the principles applicable to the issuance of a

  protective order are governed by the “good cause” factors announced in Pansy v.

  Borough of Stroudsburg, 23 F.3d at 783-92.

        In Pansy, the Third Circuit identified eight factors that may be considered in
        evaluating whether good cause exists: (1) whether disclosure will violate any
        privacy interests; (2) whether the information is being sought for a legitimate
        purpose; (3) whether disclosure will cause embarrassment to a party; (4)
        whether the information to be disclosed is important to public health and
        safety; (5) whether sharing the information among litigants will promote
        fairness and efficiency; (6) whether the party benefitting from the order is a
        public entity or official; (7) whether the case involves issues important to the
        public; and (8) the parties’ reliance on the order.

  Genentech, Inc. v. Amgen Inc., No. CV 17-1407-CFC, 2019 WL 1349464, at *2 (D.

  Del. Mar. 26, 2019) (Connolly, J.).


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        As prologue to the common law and First Amendment standards applicable

  to the sealing of judicial records, it is important to emphasize that the Pansy factors

  governing the grant of protective orders in the Third Circuit do not constitute a “free

  pass” to litigants to seek and obtain protective orders on their mere mutual consent

  or acquiescence. Protective orders require a showing of “good cause,” and “good

  cause” requires more than the mere coalescence and convenience of the parties.

  “Rule 26(c) places the burden of persuasion on the party seeking the protective order.

  To overcome the presumption, the party seeking the protective order must show

  good cause by demonstrating a particular need for protection.” Cipollone v. Liggett

  Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986). Generalized boilerplate assertions

  of harm are not sufficient. See Glenmede Trust Co. v. Thompson, 56 F.3d 476, 484

  (3d Cir. 1995) (“Under Pansy, ‘[b]road allegations of harm, unsubstantiated by

  specific examples or articulated reasoning’ do not support a good cause showing.’”),

  quoting Cipollone, 785 F.2d at 1121.

        Protective orders entered pursuant to Rule 26(c) are most soundly justified

  when the documents at issue contain trade secrets or other confidential business

  information. See Leucadia, Inc. v. Applied Extrusion Technologies, Inc., 998 F.2d

  157, 166 (3d Cir. 1993). Yet even trade secrets are not sacrosanct. The “Rules also

  explain that ‘courts have not given trade secrets automatic and complete immunity

  against disclosure, but have in each case weighed their claim to privacy against the


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  need for disclosure.’” Id., quoting Fed. R. Civ. P. 26(c) Advisory Committee’s Note

  to 1970 Amendment.

  C.    The Common Law Right of Access

        1.     Overview of Right

        The United States Supreme Court recognized the common law right of access

  to judicial records in Nixon v. Warner Communications, Inc., 435 U.S. at 597 (“It is

  clear that the courts of this country recognize a general right to inspect and copy

  public records and documents.”).

        In the Third Circuit, the right is particularly robust. “The right to inspect and

  copy, sometimes termed the right to access, antedates the Constitution.” United

  States v. Criden, 648 F.2d 814, 819 (3d Cir. 1981). Powerful public interests

  undergird the right. “It has been justified on the ground of the public’s right to know,

  which encompasses public documents generally, and the public’s right to open

  courts, which has particular applicability to judicial records.” Id. “The public’s

  exercise of its common law access right in civil cases promotes public confidence in

  the judicial system by enhancing testimonial trustworthiness and the quality of

  justice dispensed by the court.” Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir.

  1988), citing 6 J. Wigmore, Evidence § 1834 (J. Chadbourne rev. 1976). “As with

  other branches of government, the bright light cast upon the judicial process by

  public observation diminishes possibilities for injustice, incompetence, perjury, and


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  fraud.” Littlejohn, 851 F.2d at 678. Moreover, “the very openness of the process

  should provide the public with a more complete understanding of the judicial system

  and a better perception of its fairness.” Id. “[A]ccess to civil proceedings and

  records promotes ‘public respect for the judicial process’ and helps assure that

  judges perform their duties in an honest and informed manner.” In re Cendant Corp.,

  260 F.3d at 192, quoting Leucadia, 998 F.2d at 161.

        2.     Defining “Judicial Record”

        Given that it is firmly established that the common law presumption of access

  applies to “judicial records and documents,” the case law in the Third Circuit has

  focused not on the existence of the presumption, but instead on what does or does

  not qualify as a “judicial record” or “document” within the meaning of the common

  law right of access. The unmistakable arc of that case law has been a steady

  expansion of the records and documents to which the right attaches.

        “The common law right of access is not limited to evidence, but rather

  encompasses all ‘judicial records and documents.’” United States v. Martin, 746

  F.2d 964, 968 (3d Cir. 1984), quoting Nixon v. Warner Communications, 435 U.S.

  at 597. “It includes ‘transcripts, evidence, pleadings, and other materials submitted

  by litigants.” United States v. Martin, 746 F.2d at 968, quoting, Comment, All

  Courts Shall Be Open: The Public’s Right to View Judicial Proceedings, 52 Temple

  L.Q. 311, 337-38 (1979). The Third Circuit further extended the right to a settlement


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  agreement in Bank of America, holding that that the presumption in favor of public

  access applies not only to all civil trials and records but also to “motions filed in

  court proceedings.” Bank of America, 800 F.2d at 343. In Republic of Philippines v.

  Westinghouse, the Third Circuit extended the right to “papers filed in connection

  with a motion for summary judgment.” Westinghouse, 949 F.2d at 661. In Leucadia,

  the Third Circuit summarized its extant decisions by observing that, “our earlier

  decisions and those in other courts lead ineluctably to the conclusion that there is a

  presumptive right of public access to pretrial motions of a nondiscovery nature,

  whether preliminary or dispositive, and the material filed in connection therewith.”

  Leucadia, 998 F.2d at 164.

        The key to determining whether or not a document or record is subject to the

  right of access is whether it is properly denominated a “judicial record.” In re

  Cendant Corp., 260 F.3d at 192. “The status of a document as a ‘judicial record,’ in

  turn, depends on whether a document has been filed with the court, or otherwise

  somehow incorporated or integrated into a district court’s adjudicatory

  proceedings.” Id. “While filing clearly establishes such status, a document may still

  be construed as a judicial record, absent filing, if a court interprets or enforces the

  terms of that document, or requires that it be submitted to the court under seal.” Id.,

  citing Enprotech Corp. v. Renda, 983 F.2d 17, 20 (3d Cir. 1993).

        As Judge Andrews for this Court has explained, this divide is especially


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  significant. In re Application of Ewe Gasspeicher GmbH, 2020 WL 1272612, at *3

  (“For requests to preserve the confidentiality of discovery materials pursuant to a

  protective order, the Court applies the factors set forth in Pansy . . . See In re Avandia

  Mktg., 924 F.3d at 670. When, however, the parties file those discovery materials on

  the court’s docket under seal, they become “judicial records” subject to the more

  rigorous common law right of access. Id. at 672. Finally, the First Amendment right

  of public access attaches to civil trials. Id.”).

         3.     The Exception for “Discovery Motions”

         The documents submitted by Storag and Baker Hughes under review here

  have all been filed with the Court, and thus they meet the threshold definition of

  “judicial record.” There is, however, a wrinkle still to be ironed, which is whether

  the filings submitted by Storag and Baker Hughes constitute “discovery motions and

  supporting materials.” In Leucadia, the Third Circuit held that the common law

  right of access did not attach to discovery motions. Since the entire matter pending

  before this Court is an application for discovery under § 1782, the entire proceeding

  might arguably be regarded as an omnibus discovery motion, exempt from the

  common law right of access under Leucadia. The parties have argued that pursuant

  to Leucadia, everything filed in this § 1782 proceeding is thus exempt from the

  common law right of access.

         4.     The Section 1782 Filings at Issue are Not “Discovery Motions”


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        The filings in dispute before the Court, however, are not properly understood

  as “discovery motions” within the meaning of Leucadia. Rather, the filings are more

  akin to the filing of a Complaint, and a responsive Motion to Dismiss. In a civil

  action, a complaint is filed to invoke the judicial power of the federal court, and

  unless dismissed, discovery follows. In a § 1782 proceeding, the application is filed

  to invoke the judicial power of the federal court, and unless rejected, discovery

  follows.

        The issue before the Court in a § 1782 proceeding is whether to grant

  discovery. The § 1782 Application itself is not a “discovery motion,” but is instead

  an application to invoke the jurisdiction of the federal court in aid of discovery in a

  foreign proceeding. In excluding “discovery motions,” Leucadia relied heavily on

  the fundamental principle that underlying discovery material itself is not a judicial

  record. There is no common law right of access to “raw discovery.” Leucadia, 998

  F.2d at 157. If in the course of discovery, disputes arise, parties may file “discovery

  motions” seeking the intervention of a court to resolve the disputes. Those motions

  may require attachment of “raw discovery” materials, such as excerpts from

  depositions or interrogatory answers. The core learning of Leucadia is that the

  common law right of access does not attach to such motions, or their exhibits

  containing raw discovery, because this would have the effect of converting material

  that is normally not a “judicial record” into material that is. The key passage in


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  Leucadia thus explained that “a holding that discovery motions and supporting

  materials are subject to a presumptive right of access would make raw discovery,

  ordinarily inaccessible to the public, accessible merely because it had to be included

  in motions precipitated by inadequate discovery responses or overly aggressive

  discovery demands.” Leucadia, 998 F.2d at 157.

        If on the merits Storag’s § 1782 application for discovery were to be granted

  by the District Court, and if subsequent disputes were to develop over compliance

  with the Court’s order, an ensuing motion that referenced issues surrounding such

  “raw discovery,” and any exhibits from that raw discovery attached to that motion,

  could constitute a “discovery motion” within the meaning of Leucadia. The current

  filings of the parties at the current stage, however, which contest whether the German

  DIS arbitration proceedings constitute a “foreign tribunal” and whether the other

  Intel factors governing § 1782 are satisfied, are not “discovery motions” at all, but

  rather filings that speak to the threshold exercise of § 1782 power by the Court.

        5.     Common Law Access Contrasted with the Rule 26 Pansy Factors

        The Third Circuit’s 2019 decision in Avandia strongly emphasized the

  fundamental divide between the standards that govern the issuance of protective

  orders under Rule 26 and the standards that govern the presumption of access to

  judicial records under the common law:




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        In short, while the Pansy factors may provide useful guidance for courts
        conducting the balancing required by the common law test, the Pansy
        factors do not displace the common law right of access standard. The
        difference is not merely semantic—the Pansy factors are not
        sufficiently robust for assessing the public’s right to access judicial
        records.

  Avandia, 924 F.3d at 676.

        In both substance and procedure, the burdens that must be overcome to justify

  the sealing of judicial records under the common law are dramatically less pliant

  than the factors to be weighed under Pansy in deciding whether a protective order is

  warranted. “Unlike the Rule 26 standard, the common law right of access begins

  with a thumb on the scale in favor of openness—the strong presumption of public

  access.” Id.

        As to substance, Avandia instructed that in certain critical respects the Pansy

  factors are fundamentally incompatible with the Third Circuit’s common law right

  of access jurisprudence. Id. (“Moreover, some of the Pansy factors are incompatible

  with our case law on the common law right of access.”).

        For example, the Pansy factors invite a court to consider “‘whether disclosure

  of the information will cause a party embarrassment.’” Id., citing Glenmede Trust

  Company v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995). In contrast, however,

  “concern about a company’s public image, embarrassment, or reputational injury,

  without more, is insufficient to rebut the presumption of public access.” Avandia,

  924 F.3d at 666, citing Westinghouse, 949 F.2d at 663. See also Littlejohn, 851 F.2d
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  at 685 (reasoning that the proponent of the seal’s “desire to preserve corporate

  reputation” is insufficient to rebut the presumption); Publicker, 733 F.2d at 1074

  (explaining that public disclosure of poor management is inadequate to justify

  sealing); Brown & Williamson Tobacco Corporation v. Federal Trade Commission,

  710 F.2d 1165, 1180 (6th Cir. 1983) (explaining that the desire to shield prejudicial

  information from competitors and the public is understandable, but “cannot be

  accommodated by courts without seriously undermining the tradition of an open

  judicial system.”).

        So too, Pansy permits consideration of “‘whether the information is being

  sought for a legitimate purpose or for an improper purpose.’” Avandia, 924 F.3d at

  677, quoting Glenmede, 56 F.3d at 483. In contrast, a “a person’s motive for

  inspecting or copying judicial records is irrelevant under the common law right of

  access.” Avandia, 924 F.3d at 677, citing Leucadia, Inc., 998 F.2d at 167-68; Bank

  of America., 800 F.2d at 345 (“The applicability and importance of these interests

  [served by the common law right of access] are not lessened because they are

  asserted by a private party to advance its own interests.”).

        The essential substantive command of Avandia is that it is error to conflate

  “the Pansy factors with the common law right of access standard.” Avandia, 924

  F.3d at 677. “[T]he Pansy factors are not a substitute for the common law right of

  access standard—which begins with the presumption of access.” Id. “The scale is


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  tipped at the outset in favor of access.” Id.

        6.      The Substantive Common Law Avandia Standards

        While not purporting to articulate exhaustively what substantive showings

  will justify sealing or redacting a judicial record and what showings will not,

  Avandia did provide substantial guidance.

        Avandia rejected as insufficient an eight-year-old declaration previously

  submitted to support sealing of other documents, instructing that “[o]utdated

  evidence such as this is insufficient to overcome the presumption of public access.”

  Id. at 678.

        Avandia also rejected as insufficient a second proffered declaration,

  dismissing that declaration as deficient because it contained mere “broad, vague, and

  conclusory allegations of harm.” Id. In rejecting that declaration, the court held that

  the declarant’s assertion that disclosure of the company’s “old research strategies

  ‘would still aid competitors in developing research strategies and could be used to

  harm GSK’s relationship with patients and physicians’” was not enough to rebut the

  presumption of public access, because the declaration lacked any additional

  explanation as to why revelation of old strategies would harm present commercial

  relationships. Id. at 679. These were the very sort of “blanket assertions of harm”

  that the Avandia court declared “fall short of the clearly defined and serious injury”

  required for sealing. Id.


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        Finally, Avandia sharply disqualified “reputational injury” or mere

  “embarrassment” as interests sufficient to overcome the presumption of access. On

  the record before it, the Court declared that it could not see how the alleged harm

  “chalks up to anything more than mere embarrassment.” Id. But “[m]ere

  embarrassment is insufficient to overcome the strong presumption of public access

  inherent in the common law right.” Id., citing Publicker, 733 F.2d at 1074

  (explaining that courts generally should not seal evidence of “bad business

  practice[s].”). In a critical insight, the Court in Avandia noted that the values served

  by public access may be at their apex when the motivation for sealing is

  embarrassment at what the disclosed material might reveal. “‘Indeed, common

  sense tells us that the greater the motivation a corporation has to shield its operations,

  the greater the public’s need to know.’” Id., quoting Brown & Williamson Tobacco

  Corp., 710 F.2d at 1180.

        On the affirmative side of the ledger, Avandia confirmed the long-standing

  truism that the presumption of public access is “‘not absolute.’” Avandia, 924 F.3d

  at 672, quoting Bank of America, 800 F.2d at 344. The presumption of public access

  may be overcome. The critical divide is the distinction between material containing

  palpable trade secrets or proprietary business practices that will produce present

  commercial and competitive harm, on the one hand, and vague, conclusory

  assertions of commercial or competitive harm, or assertions that in fact appear


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  grounded in reputational interests and embarrassment, on the other. A party’s

  “‘vague assertions that the transcript contains secretive business information, and

  that disclosure would render [it] at a tactical disadvantage’ [are] insufficient to

  overcome that strong presumption.” Avandia, 924 F.3d at 676, quoting LEAP Sys.,

  Inc. v. MoneyTrax, Inc., 638 F.3d 216, 221-22 (3d Cir. 2011). The touchstone is the

  persuasive demonstration of specific, concrete, particularized of harm.3

        7.     The Avandia Procedural Requirements

        As to procedure, Avandia also contemplates a rigorous process of judicial

  review. The right of access must not be demoted to “a mere formality.” Avandia,

  924 F.3d at 676. To ensure that proper weight is given to “the public’s strong interest

  in the openness of judicial records,” a District Court must engage in “a document-

  by-document review.” Id. Casual, superficial review does not suffice. “Again, the

  strong presumption of openness inherent in the common law right of access

  ‘disallows the routine and perfunctory closing of judicial records.’” Id., citing In re

  Cendant Corp., 260 F.3d at 193-94.

        The substantive and procedural standards that must be met to overcome the

  presumption of access are onerous by definition and design. The party seeking to


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    Because motions to seal material so commonly occur in commercial and corporate
  litigation, the vocabulary through which courts describe the harm often references
  trade secrets and proprietary business practices. But harms sufficiently specific and
  serious might also be demonstrated in non-business litigation contexts, in which
  compelling privacy, safety, health, or similar interests are at stake.
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  seal judicial records must satisfy “a heavy burden.” Miller v. Indiana Hospital, 16

  F.3d 549, 551 (3d Cir. 1994). The party seeking to have a record sealed “must show

  that ‘the material is the kind of information that courts will protect and that

  disclosure will work a clearly defined and serious injury to the party seeking

  closure.’” Avandia, 924 F.3d at 677-78, quoting Miller, 16 F.3d at 55. In granting a

  sealing order, a “District Court should articulate ‘the compelling[,] countervailing

  interests to be protected,” make “specific findings on the record concerning the

  effects of disclosure, and provide[ ] an opportunity for interested third parties to be

  heard.’” Avandia, 924 F.3d at 677-78, quoting In re Cendant Corp., 260 F.3d at 194.

  “‘In delineating the injury to be prevented, specificity is essential.’” Id. Generalized

  incantations that secrecy is required to prevent competitive or commercial harm are

  not enough to carry the movant’s burden. “‘Broad allegations of harm, bereft of

  specific examples or articulated reasoning, are insufficient.’” Id.

        The factfinding required by district courts must be careful and meticulous in

  order to vindicate the rights of the public and the integrity of the judicial process

  itself, notwithstanding the private interests or preferences of the litigants, even when

  they are in agreement. “‘[C]areful factfinding and balancing of competing interests

  is required before the strong presumption of openness can be overcome by the

  secrecy interests of private litigants.’” Avandia, 924 F.3d at 677-78, quoting

  Leucadia, 998 F.2d at 167.


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        The Third Circuit’s Avandia opinion mandates a “document-by-document”

  review of the claimed propriety of sealing. In conducting that review, the Court may

  sensibly acknowledge that there may be snippets of material that satisfy the onerous

  burden required to justify sealing. In such instances, however, only the “snippet”

  itself may be sealed. See In re Petrobras Sec. Litigation, 393 F. Supp. 3d 376, 387

  (S.D.N.Y. 2019) (“Nonetheless, a few of the documents—or, more likely, a few

  sentences within a few of the documents—may still contain ‘business information

  that might harm a litigant'’ competitive standing.’ . . . Petrobras has satisfied this

  Court that some of the sealed documents might still contain snippets of information

  that even the now much-reorganized Petrobras could reasonably claim were still

  commercially sensitive.”) (internal citations omitted); Ebert v. C.R. Bard, Inc., No.

  CV 12-01253, 2020 WL 429771, at *3 (E.D. Pa. Jan. 28, 2020) (“Although Bard

  asks for the entirety of the expert reports to be sealed, a less restrictive alternative is

  available. The Court will instead only permit to be redacted those pages of the expert

  reports that Bard expressly identified as containing confidential business

  information in its Motion.”).

        In a footnote, Avandia clarified that the Third Circuit does not “require a

  district court to provide lengthy, detailed discussion of each individual document.”

  Avandia, 924 F.3d at 677, n.11. “Yet it must be clear from the record that the district

  court engaged in a particularized, deliberate assessment of the standard as it applies


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  to each disputed document.” Id.

        8.    The Changed Landscape After Avandia

        Avandia was a game-changer, as District Court opinions applying it in this

  Circuit have recognized. Avandia struck at the heart of the prevalent practice of

  collusive secrecy in corporate litigation. It is a common practice for parties in

  corporate cases to file reciprocal unopposed motions to seal, in what often to

  amounts to a “I will scratch your secrecy back if you will scratch mine” bargain.

  Applying Avandia, Judge Andrews observed:

        In my experience, corporate parties in complex litigation generally
        prefer to litigate in secret. To that end, discovery is over-designated as
        being confidential, pleadings and briefs are filed under seal, redacted
        versions of sealed documents are over-redacted, requests are made to
        seal portions of transcripts of judicial proceedings, and parties want to
        close the courtroom during testimony. I have tried over the years to
        reign these tendencies in, but it is difficult because there is usually no
        one opposing whatever requests are made, and I do not have time to be
        independently monitoring any of these tendencies unless they are
        directly requested of me (i.e., requests to close the courtroom and to
        seal judicial transcripts). I have made some efforts on the requests that
        are specifically directed to me. I think some of those efforts have
        resulted in greater exercise of discretion by the parties in asking to have
        judicial transcripts sealed and in seeking to close the courtroom, but I
        do not see any impact on any of the other areas of potential abuse.
        In cases like Avandia, there is a third party that seeks access to the
        challenged documents, which is not the case here. The courts of appeals
        perhaps do not have as much opportunity to instruct on what a trial court
        should be doing when no party is advocating for openness.
        Nevertheless, it seems to me that courts should at least address access
        concerns when they come to the court’s attention.

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  Takeda Pharmaceuticals U.S.A., Inc. v. Mylan Pharmaceuticals, Inc., No. CV 19-

  2216-RGA, 2019 WL 6910264, at *1 (D. Del. Dec. 19, 2019).

        In the wake of Avandia, District Courts “must articulate compelling and

  countervailing interests to be protected, make specific findings on the record

  concerning the effects of disclosure and provide an opportunity for third parties to

  be heard.” Ebert v. C.R. Bard, Inc., 2020 WL 429771, at *2, citing Avandia, 924

  F.3d at 672-73.

        The District Court’s decision applying Avandia in Midwest Athletics & Sports

  All. LLC v. Ricoh USA, Inc., 395 F. Supp. 3d 461, 462 (E.D. Pa. 2019), is instructive.

  In Midwest, both parties had filed motions to seal. Rejecting both motions, the court

  noted that the “parties make no showing that disclosure of the exhibits contain

  confidential commercial or proprietary information.” Id. “Although the parties may

  agree to shield information contained in discovery materials,” the court stated, “they

  may not do so once those materials become part of the court record.” Id. “Sealing

  orders may not be routinely entered without the rigorous analysis required.” Id. In

  rejecting the sealing motions, the court held that none of the materials proffered for

  sealing any confidential material that could cause harm within the meaning of the

  Avandia standard. Id.

  D.    The First Amendment Right of Access to Civil Judicial Proceedings

        1.     Overview


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        The Third Circuit has recognized a First Amendment right of access to judicial

  proceedings in civil cases. Avandia, 924 F.3d at 673; Publicker, 733 F.2d at 1070;

  Delaware Coalition for Open Government, Inc. v. Strine, 733 F.3d 510, 514 (3d Cir.

  2013) (“We have found a right of public access to civil trials, as has every other

  federal court of appeals to consider the issue.”). That much is clear. What is less

  clear is the nature of the judicial records to which that First Amendment right

  attaches in civil cases.

        2.     The Avoidance Doctrine

        In Avandia, the Third Circuit panel invoked the “avoidance doctrine” and

  decided, by a 2-1 vote, not to reach the question of whether the First Amendment

  right of access applies to judicial records filed in summary judgment proceedings.

  Judge Restrepo, concurring in part and dissenting in part, filed an opinion arguing

  that the “avoidance doctrine” ought not be applied. Judge Restrepo reached the First

  Amendment question and opined that the First Amendment right of access did attach

  to summary judgment findings.        Avandia, 924 F.3d at 681-84 (Restrepo, J.,

  concurring in part and dissenting in part).

        The “avoidance doctrine” is a permissive and prudential principle of judicial

  restraint. The doctrine embraces the proposition that “a federal court should not

  decide federal constitutional questions where a dispositive nonconstitutional ground

  is available.” Hagans v. Lavine, 415 U.S. 528, 547 (1974). In Avandia, the majority


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  found the common law presumption of access “dispositive,” and therefore declined

  to rule on the First Amendment question. Avandia, 924 F.3d at 680. As already

  noted, Judge Retrespo was not convinced that the common law analysis was

  dispositive and went on to reach the First Amendment question. Id. at 681-84

  (Restrepo, J., concurring in part and dissenting in part).

        The gravitational force of the avoidance doctrine increases as litigation moves

  upward. Appellate courts presented with alternative grounds for affirmance or

  reversal of a judgment below are naturally and appropriately drawn to render a

  decision on the narrowest practicable ground. Values of judicial restraint caution

  against reaching the resolution of constitutional issues when the matter at hand may

  be disposed of on less profound terms.

        In contrast, for structural reasons inherent in the hierarchy of judicial review,

  Federal District Courts hearing matters in the first instance, and by extension,

  Special Masters appointed as adjuncts to facilitate the exercise of their judicial

  authority, must often reach constitutional issues that an appellate court may later

  choose to avoid. A ruling in the alternative, deciding a matter on both non-

  constitutional and constitutional grounds, affords a reviewing court the advantage–

  should it conclude that the non-constitutional grounds are not sufficient to sustain

  the judgment–to then review the alternative constitutional basis for the ruling.

        3.     The Substantive First Amendment Standards


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        While the majority in Avandia did not decide whether or not the First

  Amendment right of access applied to the documents before it, the majority did

  elaborate at some length on the substantive First Amendment standards that would

  be applicable if the First Amendment right were to apply.

        The majority in Avandia thus declared that “[t]he First Amendment right of

  access requires a much higher showing than the common law right [of] access before

  a judicial proceeding can be sealed.” Id. at 673, citing In re Cendant Corp., 260 F.3d

  at 198 n.13. “Any restriction on the right of public access ‘is . . . evaluated under

  strict scrutiny.’” Avandia, 924 F.3d at 673, citing PG Publishing Co., 705 F.3d at

  104. “If the First Amendment right of access applies, “there is a presumption that

  the proceedings will be open to the public.” Avandia, 924 F.3d at 673, citing

  Publicker, 733 F.2d at 1073. The party seeking closure may rebut the presumption

  of openness only if it is able to demonstrate “an overriding interest [in excluding the

  public] based on findings that closure is essential to preserve higher values and is

  narrowly tailored to serve that interest.” Avandia, 924 F.3d at 673, citing Publicker,

  733 F.2d at 1070 (explaining that “to limit the public’s access to civil trials there

  must be a showing that the denial serves an important governmental interest and that

  there is no less restrictive way to serve that governmental interest.”).

        Avandia further instructed that in determining whether a First Amendment

  right of access applies to judicial records such as those filed in summary judgment


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  proceedings, courts must apply the two-prong “experience and logic” test that has

  been adopted across the landscape of First Amendment jurisprudence to decide

  access questions. Avandia, 924 F.3d at 673.

        4.     Application of the Logic and Experience Standard Test

        A proceeding qualifies for the First Amendment right of public access when

  “there has been a tradition of accessibility” to that kind of proceeding, and when

  “access plays a significant positive role in the functioning of the particular process

  in question.” Press–Enterprise Co. v. Superior Court, 478 U.S. 1, 10, (1986). “In

  order to qualify for public access, both experience and logic must counsel in favor

  of opening the proceeding to the public.” Delaware Coalition, 733 F.3d at 514.

        In Rushford v. New Yorker Magazine, Inc., 846 F.2d 249 (4th Cir. 1988), the

  Fourth Circuit, citing the Third Circuit’s holding in Publicker, held that “the more

  rigorous First Amendment standard should also apply to documents filed in

  connection with a summary judgment motion in a civil case.” Id. at 253, See

  Publicker, 733 F.2d at 1067-71. The Second Circuit, finding Rushford persuasive,

  adopted the same position in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,

  124 (2d Cir. 2006). Among other rationales, the Second Circuit reasoned that when

  a First Amendment right of access attaches to a judicial proceeding itself, the norm

  should be that the right also attaches to documents filed in those proceedings,

  observing that “‘[o]ther circuits that have addressed [the] question have construed


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  the constitutional right of access to apply to written documents submitted in

  connection with judicial proceedings that themselves implicate the right of access.’”

  Id., quoting Matter of New York Times Co., 828 F.2d 110, 114 (2d Cir. 1987), citing

  In re Washington Post Co., 807 F.2d 383, 390 (4th Cir. 1986); Associated Press v.

  United States District Court, 705 F.2d 1143, 1145 (9th Cir. 1983).

        5.     The First Amendment and Section 1782 Proceedings

        The justifications for treating the First Amendment right of access as attaching

  to the filings in a § 1782 application are even more powerful than the justifications

  for applying the right to summary judgment filings. As already noted, an application

  under § 1782 is akin to a complaint filed in a civil action, the gateway document to

  invoking a federal court’s judicial power.

        Section 1782 was enacted by Congress as an exercise in international comity.

  Yet comity only goes so far. Somportex Ltd. v. Philadelphia Chewing Gum Corp.,

  453 F.2d 435, 440 (3d Cir. 1971) (“Comity is a recognition which one nation extends

  within its own territory to the legislative, executive, or judicial acts of another. It is

  not a rule of law, but one of practice, convenience, and expediency. Although more

  than mere courtesy and accommodation, comity does not achieve the force of an

  imperative or obligation.”).

        The First Amendment is not invisible in § 1782 proceedings. In re Application

  of Ewe Gasspeicher GmbH, 2020 WL 1272612, at *3 (Observing, in a § 1782


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  proceeding, that “the First Amendment right of public access attaches to civil

  trials.”).

         A party from whom discovery is sought in a § 1782 application, for example,

  may claim that the material sought is sheltered from disclosure under the First

  Amendment. Such a First Amendment defense to production under § 1782 was

  interposed in Chevron Corp. v. Berlinger, 629 F.3d 297, 310 (2d Cir. 2011), in which

  the applicant sought release of “outtakes” from the production of a documentary film

  for use in defending proceedings in Ecuador. While in Chevron the Second Circuit

  ultimately determined that the First Amendment “journalist’s privilege” recognized

  in that Circuit did not bar access to the outtakes sought, the application of First

  Amendment principles to the underlying § 1782 proceedings was treated as self-

  evident. Id.

         Consider another analogy. Principles of comity do not extend so far as to

  require American courts, when assisting foreign tribunals in the adjudication or

  enforcement of judgments, to violate fundamental principles of public policy,

  including the First Amendment guarantees that American courts are constitutionally

  bound to respect. For example, a federal statute, the SPEECH Act, 28 U.S.C. § 4102,

  states: “a domestic court shall not recognize or enforce a foreign judgment for

  defamation unless the domestic court determines that . . . the defamation law applied

  in the foreign court’s adjudication provided at least as much protection for freedom


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  of speech and press in that case as would be provided by the first amendment to the

  Constitution of the United States and by the constitution and law of the State in

  which the domestic court is located.” Id. § (a)(1)(A). “Congress enacted the

  SPEECH Act in 2010 in response to the perceived threat of ‘libel tourism,’ a form

  of international forum-shopping in which a plaintiff chooses to file a defamation

  claim in a foreign jurisdiction with more favorable substantive law.” Trout Point

  Lodge, Ltd. v. Handshoe, 729 F.3d 481, 487 (5th Cir. 2013).

        Even prior to enactment of the SPEECH Act, American courts had refused to

  enforce foreign libel judgments rendered under foreign rules of decision that would

  violate First Amendment principles if the case were litigated in the United States.

  See Bachchan v. India Abroad Publications Inc., 154 Misc. 2d 228, 585 (Sup. Ct.

  NY Cnty. 1992) (stating that the First Amendment “would be seriously jeopardized

  by entry of [a] foreign libel judgment granted pursuant to standards deemed

  appropriate in England but considered antithetical to the protections afforded [to]

  the press by the U.S. Constitution”); Telnikoff v. Matusevitch, 347 Md. 561, 702

  A.2d 230, 251 (1997) (“[A]t the heart of the First Amendment … is the recognition

  of the fundamental importance of the free flow of ideas and opinions on matters of

  public interest and concern. The importance of that free flow of ideas and opinions

  on matters of public concern precludes Maryland recognition of Telnikoff’s English

  libel judgment.”).


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        To be sure, the rule that American courts may not enforce a foreign

  defamation judgment that runs contrary to American free speech principles is not

  directly on point with whether the filings in this § 1782 proceeding should be open

  to the public under the common law and First Amendment principles that govern

  litigation in this Court. But the analogy is strong. If the First Amendment trumps

  comity in the context of American enforcement of foreign judgments, the First

  Amendment should also trump comity in preserving the powerful presumptions of

  public access that attach to proceedings in American courts.

        For the reasons articulated, this Report and Recommendation finds that the

  First Amendment right of access attaches to the filings of the parties in this § 1782

  proceeding, over and above the common law right of access.

          IV. Recommended Resolution of the Pending Sealing Matters

        A.     Document-by-Document Review

        As required by the Third Circuit, decisions on the resolution of the matters

  assigned to the Special Master and upon which this Report and Recommendation are

  based are grounded in the Special Master’s document-by-document review. The

  parties have sensibly grouped the sealings and redactions into various categories.

  This Report and Recommendation is organized in alignment with those




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  characterizations, with references and examples to specific documents or portions of

  documents reviewed as associated with each category.4

        B.     Information Concerning the Arbitration Other than the First
               Arbitration Award Itself Should Not be Sealed

        Storag and Baker Hughes have both extensively redacted rudimentary

  information regarding the underlying German DIS arbitration. As previously noted,

  Storag describes this material as encompassing: (1) information concerning the

  German DIS Tribunal’s procedural orders; (2) information that would identify the

  nature of the parties’ claims in the German Arbitration; (3) information that would

  identify the parties to the Arbitration; and (4) information concerning the existence

  of the arbitration.   Storag Submission at 4-5.      Baker Hughes refers to such

  information more generically as “specific information regarding the underlying

  Arbitration.” Baker Hughes Brief at 4. However labeled, both parties in their filed

  submissions have expansively redacted information concerning the very existence of

  the arbitration, information identifying the parties to the arbitration, information




  4
    The Special Master acknowledges and has carefully reviewed the many helpful
  submissions of the parties, including the detailed chart submitted by Baker Hughes,
  to assist in the hearing conducted in this matter and subsequently filed on the
  Court’s Docket, in parsing and analyzing, document-by-document and redaction-
  by-redaction, the issues here pending.

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  concerning the German DIS Tribunal’s procedural orders, and information

  identifying the nature of the parties’ claims in the arbitration.5

        The sealing of this information cannot be justified under the common law

  principles articulated in Avandia, nor under the First Amendment right of access to

  judicial records.

        The notion that parties could litigate the propriety of a § 1782 application

  while hiding from the public the very existence of the arbitral tribunal that allegedly

  supports discovery, the identity of the parties to that dispute, the procedural orders

  relating to the proceeding, and the basic nature of the claims in that arbitral

  proceeding, is fundamentally inconsistent with a federal court’s responsibilities in

  adjudicating a § 1782 application.

        The central statutory predicate for the invocation of the federal judicial power

  in § 1782 proceedings is that the application be in aid of “a proceeding in a foreign

  or international tribunal.” 28 U.S.C. § 1782 (a). The additional Intel factors include

  an assessment of: “(1) whether the evidence sought is within the foreign tribunal’s

  jurisdictional reach, and thus accessible absent section 1782 aid; (2) the nature of the

  foreign tribunal, the character of the proceedings underway abroad, and the

  receptivity of the foreign government or the court or agency abroad to U.S. federal-


  5
    This Report and Recommendation deals separately, in the next section of the
  Report, with the more detailed information filed in exhibits, including exhibits
  containing the First Arbitration Award.
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  court judicial assistance; (3) whether the request conceals an attempt to circumvent

  foreign proof gathering restrictions or other policies of a foreign country or the

  United States; (4) whether the subpoena contains unduly intrusive or burdensome

  requests.” In re O’Keeffe, 646 Fed. App’x. 263, 266 (3d Cir. 2016), citing Intel, 542

  U.S. at 264-65.

        Any meaningful public understanding of the Court’s adjudication of this

  contested § 1782(a) proceeding under these standards will be unintelligible and

  incoherent in the absence of disclosure of the rudimentary “who, what, when, where”

  facts relating to the dispute being litigated in the foreign tribunal. The public cannot

  sensibly comprehend the Court’s decision as to whether grant or deny the § 1782

  application without disclosure of such elementary circumstances.

        In keeping with the requirement of document-by-document review, the

  summaries below place these findings in more detailed context.

                                          D.I. 22

        D.I. 22 (the redacted version of sealed D.I. 18), is Baker Hughes’s

  Memorandum in Opposition to Storag’s Application or, Alternatively, to Stay the

  Proceedings. D.I. 22 contains countless redactions of many mundane and simple

  words or phrases. Here are exemplars of individual words or phrases redacted from

  public view:

        “The Arbitration Panel Constituted Under DIS Rules”


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        “the Panel”

        “the Arbitration Panel”

        “the Arbitration”

        “German arbitration panel”

        “arbitrations”

        “in Germany”

        D.I. 22 also redacts and hides from public view phrases citing to the German

  DIS Rules, or scholarly works elaborating on those DIS Rules. Here are examples:

        “DIS Rules, Art. 38”

        “Korinna von Trotha, German Arbitration Institute (DIS), WORLD
        ARBITRATION REPORTER 1 (2d ed. 2019)”

        D.I. 22 is replete with redactions hiding from public view passages containing

  narrative background description of events and proceedings. Here are examples:

        “a now-concluded arbitration in Germany (“First Arbitration”) under
        the rules of the German Arbitration Institute (“DIS”) as required by a
        contract with Baker Hughes (Deutschland) GmbH (“BH Germany”)”

        “subsurface safety valves (“SSSVs”) for use in gas storage caverns”

        “In the First Arbitration, Storag asserted claims for breach of contract
        and warranty regarding alleged defects in the SSSVs. Storag received
        reams of documents and information regarding the SSSVs (the same
        types of information it now seeks here); the arbitration included over
        2,435 pages of briefing and over 1,000 exhibits. Id. It involved more
        than 20 expert witnesses and 40 reports. Id. The evidentiary hearings
        lasted ten days, with testimony from 29 witnesses and experts. Id. The

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        issues that were litigated and resolved included costs arising from
        alleged defects, repair costs, risks associated with the metal used in
        welds, and BH Germany’s knowledge of these risks. See id. at ¶ 4. The
        arbitrators issued their 337-page award on June 7, 2018. Id. at ¶ 3.”

        “in the arbitration particularly with respect to Baker Hughes….” (see
        Dec. 14, 2015 Hr. Tr. at 4:7-11) and “the discovery that’s taken place
        in the German arbitration did not extend to the BHGE U.S. entities….”
        See id. at ¶ 7 and Ex. 2-E at 16:6-12. Storag’s lead counsel in the First
        Arbitration, Daniel Schnabl of Freshfields—also lead counsel in the
        present “Second Arbitration” and the same firm seeking Section 1782
        discovery here—attended multiple hearings in which Triuva argued for
        obtaining BHGE documents. Id.”

        D.I. 22 contains many redactions that are best characterized as legal argument,

  or application of law to fact, of the sort that form the heart of most legal briefs or

  legal memoranda submitted in American courts. Examples include:

        “the panel is a completely private arbitral body paid for by the parties.
        Private arbitrations that derive from the parties’ agreement”

        “Second, the entity that supplies the procedural rules governing the
        arbitration, the DIS, is likewise not a governmental authority or court”

        Considered individually, and considered cumulatively, these redactions

  render D.I. 22 incoherent and incomprehensible to a public reader. Take, as an

  example, one heavily redacted paragraph from the D.I. 22 Memorandum. Here is

  what was visible to the public:

        Because Storag is required [redacted material] In re App. of
        Technostrovexport, 835 F. Supp. 695, 697–98 (S.D.N.Y. 1994).




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        This, of course, is manifestly incomprehensible to any public reader. It

  contains only the opening words “Because Storag is required” followed by a citation

  to federal district court decision from New York. Here is how the paragraph actually

  read, with the redacted material inserted in bold:

        Because Storag is required to seek permission from the panel before
        seeking discovery—which was not in place until November 6 due to
        extensive delay caused by Storag—this Application should be
        stayed until Storag receives permission from the arbitration panel
        to conduct this discovery. Decl. ¶ 10. Under similar circumstances,
        at least one other district court has denied a Section 1782
        application until such time as the applicant sought and received
        approval from the arbitration panel.              In re App. of
        Technostrovexport, 835 F. Supp. 695, 697–98 (S.D.N.Y. 1994).

        Now, with the inclusion of the redacted material, the passage is fully

  comprehensible to a public reader. The factual predicate and argument is revealed,

  as well as the proposition for which the cited case is invoked. The redacted version,

  in contrast, completely defeats the animating purposes behind the common law and

  First Amendment presumptions of access. See Baxter International, Inc. v. Abbott

  Laboratories, 297 F.3d 544, 545 (7th Cir. 2002) (“How else are observers to know

  what the suit is about or assess the judges’ disposition of it? Not only the legislature

  but also students of the judicial system are entitled to know what the heavy financial

  subsidy of litigation is producing. These are among the reasons why very few

  categories of documents are kept confidential once their bearing on the merits of a

  suit has been revealed.”).


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        In short, the redactions render D.I. 22 outside any reasonable comprehension

  to a public reader. D.I. 22 becomes a jigsaw puzzle with so many pieces missing

  that the viewer can only guess at what the image depicted might be.

                                          D.I. 23

        D.I. 23 is the public redacted version of D.I. 19, a Declaration submitted by

  Baker Hughes in support of its Memorandum in Opposition. D.I. 23 was essentially

  redacted in its entirety. While small fragments of text are visible to the public,

  virtually of the Declaration remains sealed. For example, the Declaration begins by

  redacting the identity of the Declarant, Franz T. Schwarz. It is revealed that Mr.

  Schwarz is a partner in the law firm of Wilmer Cutler Pickering Hale and Dorr, LLP.

  But redacted and not visible to the public are the critical additional facts explaining

  that Mr. Schwarz represents Baker Hughes (Deutschland) GmbH in its dispute

  against Storag. Also hidden is any explanation of his role in his representation from

  which his personal knowledge comprising the substance of his Declaration was

  acquired. The substance of the Schwarz Declaration is then redacted almost in its

  entirety. That substance closely parallels the same sort of material redacted by Baker

  Hughes in D.I. 22, the rudimentary information regarding the DIS arbitration

  proceedings. Indeed, as would be expected, the Memorandum filed by Baker

  Hughes in D.I. 22 largely lifts from the facts recited by Mr. Schwarz in D.I. 23.




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        In sum, viewing D.I. 23, any public reader would know there was a

  Declaration by a lawyer supporting Baker Hughes, but not the identity of the lawyer,

  the basis of the lawyer’s knowledge, nor any of the substance recited by the lawyer

  in the Declaration.

        The material redacted in D.I. 23 was not permissibly sealed and kept from

  public view, either under the common law Avandia principles or the First

  Amendment, for reasons identical to those identified with regard to D.I. 22.

                                          D.I. 24

        D.I. 24 is the public redacted version of D.I. 20, a second Declaration

  submitted by Baker Hughes in support of its Memorandum in Opposition. To its

  credit, the Declaration of Mr. Zeve, who is participating as Counsel in the proceeding

  before this Court, is not heavily redacted. Even so, the redactions that were made

  are indistinguishable in their content and tenor from the material already found to be

  inappropriately redacted in D.I. 22 and D.I. 23. A few illustrative phrases will

  suffice to demonstrate the point: D.I. 24 pervasively redacted words such as

  “arbitration,” and phrases such as: “When the First Arbitration ended,” and their

  synonyms and variations. More substantively, D.I. 24 redacted descriptions of the

  timing of events or procedures or the identities of participants. For example, the D.I.

  24 Declaration redacted this passage:

        “Daniel Schnabl of Freshfields Bruckhaus Deringer, who I understand


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        to be lead counsel in the proceeding underlying Storag’s current Section
        1782 application (the “Second Arbitration”),”

        The material redacted in D.I. 24 was not permissibly sealed and kept from

  public view, either under the common law Avandia principles or the First

  Amendment, for reasons identical to those identified with regard to D.I. 22 and D.I

  23.

                                          D.I. 36

        D.I. 36 is the public redacted version of D.I. 33, Storag’s Reply in Further

  Support of its Application. Storag’s redactions follow exactly the same pattern as

  the redactions of Baker Hughes. Once again, simple generic phrases such as, “in the

  Arbitration,” and their ilk, are redacted throughout.       Once again, citations to

  scholarly works speaking to the crux of the legal issues contested by the parties, such

  as citations to the Stanford Journal of International Law, are redacted:

        KENNETH BEALE, JUSTIN LUGAR & FRANZ SCHWARZ,
        SOLVING THE § 1782 PUZZLE: BRINGING CERTAINTY TO THE
        DEBATE OVER 28 U.S.C. SEC. 1782’S APPLICATION TO
        INTERNATIONAL ARBITRATION, 47 Stan. J. Int’ L. 51, 95 (2011)

        And once again, Storag, like Baker Hughes, redacted legal argument, or

  application of law to fact. Take, for example, this redaction:

        (“[T]here are no concerns in German law against the use of information
        legally acquired abroad. This is applicable, in particular, if the powers
        of a foreign court, such as within the scope of the § 1782 proceeding,
        are broader than those of a German court would be. The same applies ..
        . with the DIS [Rules).”). The Tribunal also ruled that Storag was not
        required to obtain its prior consent before filing its Application,”
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        The material redacted in D.I. 36 was not permissibly sealed and kept from

  public view, either under the common law Avandia principles or the First

  Amendment, for reasons identical to those identified with regard to D.I. 22, D.I 23,

  and D.I. 24.

                                          D.I. 37

        D.I. 37 is the public redacted version of D.I. 34, a Declaration in support of

  Storag’s Reply in Further Support of its Application. D.I. 37 is heavily redacted.

  The name of the Declarant, Dr. Daniel Schnabl, is redacted. Also redacted is

  information explaining Dr. Schnabl’s relationship to the dispute: “I am lead counsel

  to Storag Etzel GmbH ("Storag") in pending arbitration proceedings against Baker

  Hughes (Deutschland) GmbH in Germany.”

        Essentially all of the substantive information contained in Dr. Schnabl’s

  Declaration was redacted. This included recitations of matters involving the German

  arbitration proceedings and matters surrounding the federal court litigation in the

  Southern District of Texas. Here are examples:

        In the First Arbitration, the issue of the full repair costs that Storag
        already incurred was only litigated and decided with respect to the two
        caverns that already ruptured due to the serial defect in Baker Hughes
        Germany's SSSVs. There is also a separate group of 28 caverns (the “28
        Caverns”) for which the tribunal in the First Arbitration only granted
        declaratory relief on liability but did not rule on the level of damages to
        be paid for the full repair not yet incurred at the time. Based on this
        declaratory judgment, Storag now seeks payment for the costs of fully
        repairing the 28 Caverns.
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        I appeared before the Texas court on a couple occasions in 2017 and
        2018 only to assist with potential factual or legal questions Judge
        Hughes might have about the First Arbitration. To the best of my
        recollection, I explained that documents held by or under the control of
        Baker Hughes were beyond the First Arbitration tribunal’s jurisdiction
        as Baker Hughes was not a party to the First Arbitration. At that time,
        the present Arbitration was not pending. As far as I am aware, the Texas
        court has not yet ordered any discovery given Baker Hughes' motion
        for summary judgment.

        The material redacted in D.I. 37 was not permissibly sealed and kept from

  public view, either under the common law Avandia principles or the First

  Amendment, for reasons identical to those identified with regard to D.I. 22, D.I 23,

  D.I. 24, and D.I. 36.

                                          D.I. 41

        D.I. 41 is the public redacted version of D.I. 39, Baker Hughes’s Sur-Reply

  Memorandum in Further Opposition to Storag’s Application. D.I. 41 follows the

  now-familiar pattern. It redacts countless generic phrases, such as “the Panel.” It

  redacts argumentation in the nature of application of law to fact, such as: “Storag

  can request in the Arbitration the same documents it seeks here, and to the extent the

  Panel determines that any of Storag’s requests for BHGE documents are proper, BH

  Germany has committed to producing such documents if ordered to do so.”

        The material redacted in D.I. 41 was not permissibly sealed and kept from

  public view, either under the common law Avandia principles or the First



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  Amendment, for reasons identical to those identified with regard to D.I. 22, D.I 23,

  D.I. 24, D.I. 36, and D.I. 37.

        C.     Information Regarding the First Arbitral Award, and other
               Information Characterized as Commercially Sensitive

        Aside from all of the redacted material contained in their various briefs,

  memoranda, and declarations, none of which, for the reasons articulated above, merit

  sealing, the parties have attached massive exhibits to those briefs, memoranda, and

  declarations. These have been filed entirely under seal. Some of these exhibits, such

  as recitations from scholarly works, or the German DIS rules in their entirety, are in

  the public domain, and contain no specific information relating to the merits of the

  parties’ dispute or the First Arbitral Award. For all the reasons recited above finding

  that rudimentary information concerning the underlying German DIS arbitrations

  may not be sealed under common law or First Amendment standards, none of those

  exhibits warrant sealing, in whole or in part.

        This leaves the single most troubling exhibits, displaying in their entirety the

  initial DIS Award. The Award is a 337-page document issued on June 7, 2018. The

  first DIS Award has been filed in two places on the docket of this Court. The Award

  was first filed in its entirety by Storag as an exhibit to its Declaration in support of

  its initial § 1782 application. (D.I. 5, Exhibit C). As previously noted, Storag moved

  to seal this Declaration, and the accompanying exhibits, including Exhibit C

  containing the first Award. The motion was denied by the Court, and a motion for
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  reconsideration was denied as well, and thus Exhibit C has been in the public domain

  since August 2019. For its part, Baker Hughes filed the Award as a sealed exhibit

  to the Declaration of Franz Schwarz.

        If the Court were operating on a clean slate, and if the parties had fulfilled

  their initial obligations under Avandia and the First Amendment, it is certainly

  plausible that certain specific information contained in the dense 337-page initial

  Award might have qualified as commercially sensitive information of the sort that

  might satisfy either the common law Avandia standards or the stricter First

  Amendment standards.

        It is inconceivable, however, that everything in the Award would have

  qualified for sealing, or even that most of the material in the Award would have

  qualified for sealing. Vast sections of the Award contain discussion of German law,

  DIS procedure, summations of legal argument, invocations of scholarly works, and

  rudimentary discussion of the basic factual circumstances underlying the dispute,

  none of which would qualify for sealing under the rationales already explained in

  this Report and Recommendation, and none of which would qualify as a “trade

  secret” or “commercially sensitive information” of the sort that would justify sealing

  under either the common law or the First Amendment. See In re Application of Ewe

  Gasspeicher GmbH, 2020 WL 1272612, at *4 (“Here, the volume of materials filed

  under seal—105 documents totaling 1,551 pages—and the lack of an efficient way


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  to determine what exactly has been redacted, has not made the Court’s task easy.

  Nevertheless, it is readily apparent that certain redacted material cannot meet the

  standard laid out by the Third Circuit in Avandia. For example, in several documents,

  such as the Ex Parte Application for an Order Pursuant to 28 U.S.C. § 1782 (D.I. 2),

  EWE Gasspeicher has redacted the name of the respondent, Halliburton, and the

  name of one of its declarants, Dr. Daniel Schnabl, even though both of those names

  are publicly displayed on the court docket itself.”).

        Yet it is also plausible that some of the detail contained in the Award, ranging

  from scientific and technological detail to commercially sensitive contract terms or

  arrangements, would qualify for sealing. In each such instance, the party advocating

  sealing of the specific material would have the burden of isolating that specific

  material and also providing the high levels of justification required for its redaction.

  Moreover, embarrassment or protection of reputation would not suffice—some more

  palpable and particularized demonstration of commercial harm would be required.

        For two reasons, however, there is no justification for the continued sealing

  of the copy of the Award attached to the Declaration of Franz Schwarz submitted by

  Baker Hughes, or for retroactively sealing the already un-sealed copy of the Award

  in D.I. 5, Exhibit C.

        1.     The Parties Have Failed to Satisfy their Burden of Isolating and
               Demonstrating Specific Particularized Harm.



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        First, the parties have failed to meet the burdens imposed upon them by either

  the common law or the First Amendment. As already explained, those burdens

  require that the parties identify and justify, redaction by redaction, the portions of

  the Award justifying sealing. The parties have not met this burden. To the contrary,

  they have merely recited, in conclusory and blanket fashion, generalized claims of

  competitive harm. See In re Application of Ewe Gasspeicher GmbH, 2020 WL

  1272612, at *4 (“In addition, generic labels signifying the very existence of the

  arbitration also do not meet the Avandia standard. (See, e.g., D.I. 38 at 1 (redacting

  the words ‘Arbitration’ and ‘Response’); D.I. 44 at 1 (redacting the words ‘the

  Panel’s decision.’). Similarly, information summarizing or describing the

  arbitration’s procedural history is not the type of information that courts typically

  protect. (See, e.g., D.I. 66 (redacting ‘on July 10, 2019, the German Entities

  submitted an Application for Change of the Calendar of Proceedings ....’). Finally,

  portions of briefs, motions, or notices that quote materials filed in the arbitration are

  not per se entitled to confidentiality (even if the underlying arbitration document

  should be kept confidential in its entirety) unless a party can show that the quoted

  material by itself meets the Avandia standard. Certain quotes of the arbitration

  material are simply too benign to warrant a categorical rule.”).

        To the extent that these harms are grounded in embarrassment or reputational

  injury to either party, as previously explained, those interests are per se disqualified


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  as sufficient to justify sealing. See, e.g., Avandia, 924 F.3d at 666; Westinghouse,

  949 F.2d at 663; Littlejohn, 851 F.2d at 685; Publicker, 733 F.2d at 1074. “Simply

  showing that the information would harm the company’s reputation is not sufficient

  to overcome the strong common law presumption in favor of public access to court

  proceedings and records.” Brown & Williamson, 710 F.2d at 1180. (“[T]he natural

  desire of parties to shield prejudicial information contained in judicial records from

  competitors and the public . . . cannot be accommodated by courts without seriously

  undermining the tradition of an open judicial system. Indeed, common sense tells us

  that the greater the motivation a corporation has to shield its operations, the greater

  the public’s need to know.” Lugosch, 435 F.3d at 123).

        To the extent that there may be specific technical or commercial information

  that would cause palpable commercial harm to either party, no such harm has been

  isolated or demonstrated by either party. Critically, distilled to the core, the parties

  do not rely on particularized demonstrations of palpable harm that would be caused

  to either of them by disclosure of the material contained in the Award, but rather rely

  instead on the confidentiality protocols of the German DIS rules under which the

  pending DIS arbitration proceedings are being conducted in Germany.

        The initial ruling by Judge Andrews denying Storag’s opening motion to seal,

  and the subsequent denial of Storag’s motion for reconsideration of that ruling by

  Judge Connolly, may or may not partake of the gravitas or solemnity required to


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  constitute the formal “law of the case.” The “law of the case” doctrine “‘posits that

  when a court decides upon a rule of law, that decision should continue to govern the

  same issues in subsequent stages in the same case.’” Christianson v. Colt Industries

  Operating Corp., 486 U.S. 800, 816 (1988); quoting Arizona v. California, 460 U.S.

  605, 618, (1983). “This rule of practice promotes the finality and efficiency of the

  judicial process by ‘protecting against the agitation of settled issues.’” Christianson,

  460 U.S. at 618, quoting 1B J. Moore, J. Lucas, & T. Currier, Moore's Federal

  Practice ¶ 0.404[1], p. 118 (1984). Even so, setting the formalities of the “law of

  the case” doctrine aside, the explanation articulated by Judge Andrews in denying

  Storag’s initial sealing motion reflected the Court’s cogent and considered judgment

  that the mere existence of German arbitration rules providing for confidentiality do

  not “provide good cause for sealed proceedings in U.S. Courts.” (D.I. 7).

        Multiple rationales support this principle, on the specific facts of the record

  here, and more broadly as applied in the international context of § 1782.6 In


  6
    While not critical to resolution of the issues pending here and not relied upon in
  this Report and Recommendation, it is worth observing as an aside that the
  confidentiality recitals in German DIS Article 44.1 do not impose irrevocable
  obligations of confidentiality. Rather, Article 44.1 begins with the permissive
  language: “Unless the parties agree otherwise.” Storag and Baker Hughes could
  have agreed that that anything necessary to permit this District Court to evaluate
  their conflicting positions regarding the propriety of discovery under § 1782 could,
  by mutual agreement, be disclosed to the public. To the extent that litigation over
  the § 1782 application may have required some disclosure to the District Court of
  underlying material implicating trade secrets or other information that would cause

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  addressing these matters, the Special Master is sensitive to and appreciative of the

  highly professional and nuanced advocacy of counsel representing both parties.

  Estimable lawyers representing both parties, from Delaware, across the United

  States, and Europe, have ably explained the significant cultural differences between

  the presumptions of openness applicable in American judicial proceedings, and the

  very different cultural and legal traditions that apply outside the United States, and

  that are specifically in play in these proceedings conducted pursuant to the default

  DIS arbitral rules in Germany.          With appreciation for that advocacy and

  acknowledgment of those cultural and legal differences, however, this Report and

  Recommendation finds the arguments ultimately unpersuasive.

        Elemental principles governing the exercise of federal court jurisdiction

  strongly militate against the notion that a United States District Court ruling on a §

  1782 application should seal filings that would otherwise, applying the access

  principles derived from the Federal Rules of Civil Procedure, the common law, and


  specific and palpable commercial harm to either party, such an agreement between
  Storag and Baker Hughes might have reserved the right to interpose those specific
  assertions justifying sealing. In short, the German DIS rules by their own terms
  provided a vehicle through which the parties could have waived any confidentiality
  provisions contemplated by those rules, perhaps with a carve-out for material that
  would have permitted motions to seal material consisting of trade secrets or palpably
  harmful commercial information. While the parties persistently lament that they are
  stuck between a rock and hard place—the secrecy obligations imposed by foreign
  law and the common law and constitutional rights of public access recognized by
  American courts—perhaps they “doth protest too much.” WILLIAM SHAKESPEARE,
  HAMLET, ACT III, SCENE II.
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  the Constitution of the United States, be open to the public.

         Federal courts apply the federal procedural rules that govern adjudication of

  matters in federal cases, as derived from the Constitution, federal statutes, the

  Federal Rules of Civil Procedure, and federal common law. Applying choice of law

  principles, federal courts also at times apply the substantive legal rules of decision

  of states or foreign nations. Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938).

         American federal courts, like their American state court counterparts,

  however, do not import the procedural rules of other American states or foreign

  courts. “‘When, because the plaintiff happens to be a non-resident, such a right is

  enforceable in a federal as well as in a State court, the forms and mode of enforcing

  the right may at times, naturally enough, vary because the two judicial systems are

  not identic.’” Hanna v. Plumer, 380 U.S. 460, 473 (1965), quoting Guaranty Trust

  Co. of New York v. York, 326 U.S. 99, 108 (1945). “What matters is what the rule

  itself regulates: If it governs only ‘the manner and the means’ by which the litigants’

  rights are ‘enforced,’ it is valid; if it alters ‘the rules of decision by which [the] court

  will adjudicate [those] rights,’ it is not.” Shady Grove Orthopedic Associates, P.A.

  v. Allstate Insurance Co., 559 U.S. 393, 407 (2010).

         The principles governing the presumption of access to documents filed in

  federal courts are not in any sense “outcome-determinative” or “substantive” within

  the meaning of these familiar choice-of-law concepts derived from Erie and its


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  progeny. They establish no substantive rights or privileges germane to the merits of

  the parties’ underlying dispute, but rather govern the process by which federal courts

  manage the documents filed before them, and the rules of public access applicable

  to those documents. As previously summarized, the principles governing protective

  orders derive from the Federal Rules of Civil Procedure.           The common law

  principles derive from the inherent powers of federal courts, as judicial instruments

  of American sovereignty, to control their own judicial files and records. “Every

  court has supervisory power over its own records and files.” Nixon v. Warner

  Communications, 435 U.S. at 598.          Courts have “inherent power” to make

  determinations regarding the confidentiality of matters before them. Avandia, 924

  F.3d at 671, citing Pansy, 23 F.3d at 786. The First Amendment principles derive

  from the United States Constitution. All three sources of law that govern the sealing

  of materials in federal court litigation are procedural in nature—though those

  procedures are animated by commanding presumptions of open access that are

  powerfully American. None of those American sources of law should give way to

  contrary procedures, or contrary values, regarding the conduct of litigation in foreign

  countries.

        “Section 1782 is the product of congressional efforts, over the span of nearly

  150 years, to provide federal-court assistance in gathering evidence for use in foreign

  tribunals.” Intel Corporation, 542 U.S. at 247. The statute was passed to empower


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  federal courts to assist foreign tribunals. The statute does not transform federal

  courts into foreign tribunals.     The Delaware Federal District considering an

  application to assist in discovery on behalf of a party embroiled in an arbitration

  proceeding in German does not become an arbitral body in Germany; the Delaware

  Federal District Court remains at all time the Delaware Federal District Court. As

  such, the District Court applies its own principles governing public access to

  documents filed before it. The Federal Rules of Civil Procedure, the federal common

  law presumption of access to judicial records, and the First Amendment apply with

  full force to all documents filed in this Court, undiminished and undiluted by any

  protocols imposed by private German arbitral forums.

        It does not matter that the parties in their underlying commercial contract

  agreed to arbitrate any disputes arising from the contract in a German arbitral

  tribunal that imposes (absent agreement of the parties) confidentiality norms

  profoundly different from those imposed by American federal law. Arguing to the

  contrary, Storag points to a single sentence in the Third Circuit’s 1984 opinion in

  Publicker, which reads in its entirety: “A similar situation would be presented where

  there is a binding contractual obligation not to disclose certain information which to

  the court seems innocuous but newsworthy; in that situation unbridled disclosure of

  the nature of the controversy would deprive the litigant of his right to enforce a legal

  obligation.” Publicker, 733 F.2d at 1073-74. See Storag Submission at 4.


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        What the Third Circuit meant in this somewhat cryptic sentence is not so easy

  to decipher. To begin, the sentence was dicta. Publicker was a seminal opinion of

  the Third Circuit recognizing both the common law and First Amendment rights of

  access, and reversing a district court’s order sealing materials. In a paragraph

  describing situations in which sealing could conceivably be justified, the Third

  Circuit postulated three categories: one involving “the content of the information at

  issue,” a second “the relationship of the parties,” and the third “the nature of the

  controversy.” Publicker, at 733 F.2d at 1073. The Third Circuit then offered

  examples. For “the content of the information,” it used as an example “safeguarding

  a trade secret.” Id. For the “relationship of the parties,” it posited a suit by a client

  to prevent a lawyer from disclosing confidential information protected by the

  attorney-client privilege. Id. The Third Circuit then gave as an example of “the

  nature of the controversy,” the sentence at issue, referring to “a binding contractual

  obligation not to disclose certain information.” Id. at 1073-74.

        What the Third Circuit precisely had in mind in referring to such a “binding

  obligation not to disclose certain information” as descriptive of the “nature of the

  controversy” was not further explained in the Publicker opinion. Nor does it appear

  that any subsequent opinion of the Third Circuit, or any district court within the

  Circuit, has ever relied upon, applied, or interpreted this dicta. Perhaps the court

  was contemplating contracts such as a non-disclosure agreements, and positing a


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  dispute over an alleged breach of a non-disclosure agreement as an example of a

  situation in which “the nature of the controversy” might supply an overriding

  justification for sealing. Moreover, whatever the court had in mind, the dicta in

  Publicker did not assert that all disclosure of the “nature of the controversy” would

  be impermissible, but only that “unbridled disclosure” would be unwarranted. Id.

  (emphasis added).

        Storag, however, argues that the sentence from Publicker has a more sweeping

  meaning, and under this proffered meaning, attempts to justify all of its sealed

  submissions filed with this Court. This cannot be the law. If it were, parties could

  contract in advance to avoid the entirety of the public access rules otherwise

  applicable in federal court litigation, asserting as justification for this conversion of

  the court to a “Star Chamber” their “binding contractual obligation” to litigate in

  private.

        To be fair, Storag does correctly observe that the initial contract between

  Storag and the German subsidiaries of Baker Hughes contained an arbitration clause,

  under which arbitration would be conducted pursuant to the rules of the DIS. Storag

  in turn makes the fair point that this itself was a “binding obligation.” What Storag

  seeks to derive from this, however, pushes the argument too far.

        The syllogism proffered by Storag is not persuasive. The underlying contract

  did include an arbitration clause designating DIS as the arbitral tribunal. See D.I. 5,


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  Exhibit C, ¶ 9 (reciting the arbitration clause). And it is true enough that the

  arbitration clause itself is a “binding contractual obligation.”

        Yet it stretches credulity to characterize the arbitration clause itself as the sort

  of “binding contractual obligation not to disclose certain information” the Third

  Circuit was contemplating in the quoted sentence from Publicker. Nothing in the

  arbitration clause refers to any “information,” or to any “obligation of

  confidentiality.”   It is rather a run-of-the-mill plain vanilla arbitration clause

  designating the DIS as the forum, Hanover Germany as the location, and German as

  the language of arbitration. See D.I. 5, Exhibit C, ¶ 9.

        In the end, Storag’s argument proves too much, and amounts to nothing more

  than another way of asserting that when an application to a federal court for

  discovery under § 1782 is presented in aid of proceedings in a foreign private

  arbitration conducted out of public view, all material that is secret in the foreign

  arbitral proceedings must remain secret in the federal §1782 proceedings as well.

  After all, effectively all enforceable arbitration clauses are “binding contractual

  obligations.” If Storag’s position is sound, it means that federal courts presented

  with § 1782 applications arising from foreign arbitration proceedings that are being

  conducted in confidence must follow the confidentiality rules of the foreign arbitral

  tribunal, not the rules that govern confidentiality under the Federal Rules of Civil

  Procedure, the common law, and the Constitution of the United States. Storag’s


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  arguments, and its invocation of the dicta in Publicker, are unsound, and must be

  rejected. See In re Application of Ewe Gasspeicher GmbH, 2020 WL 1272612, at

  *5 (“Ultimately, the parties have contractually agreed to resolve their differences

  via an arbitration that keeps confidential ‘the existence of the arbitration, the names

  of the parties, the nature of the claims, the names of any witnesses or experts, any

  procedural orders or awards, and any evidence.’ (D.I. 1 ¶ 4). But the parties have

  sought assistance with those arbitration proceedings in this Court, which is not

  bound by the same confidentiality standards.”).

        For its part, Baker Hughes argues that resolution of the sealing and redaction

  issues pending before the Court should be driven by application of the Pansy factors.

  Baker Hughes only argues, however, that Pansy factors 1, 2, 3, and 7 are germane,

  and does not address factors 4, 5, 6, or 8.

        Addressing the first Pansy factor, whether disclosure will violate any privacy

  interests, Baker Hughes asserts that the sealed material includes competitive

  information, trade secrets, and technical information regarding its products.

        The second Pansy factor, whether the information is being sought for a

  legitimate purpose, Baker Hughes concedes, probably does not apply, since no third

  party is seeking information. But to the extent the second Pansy factor might apply,

  Baker Hughes argues, it cuts against disclosure, because Storag is seeking

  information for an improper purpose.


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        Under the third Pansy factor, whether disclosure will cause embarrassment to

  a party, Baker Hughes asserts, disclosures could cause harm to it and its subsidiaries,

  by causing embarrassment and reputational damage, particularly as to information

  that may be disclosed out of context. See Baker Hughes Brief at 15. (“Disclosure of

  the Arbitration Information could result in loss of good will and reputational harm.

  If the Arbitration Information becomes public, then the factual and procedural

  history between the German parties and Storag’s unresolved allegations in the

  pending Arbitration could result in customers of BHGE or BH Germany deciding to

  use a different supplier, when those customers otherwise would not have been aware

  of the still-pending and confidential dispute among the parties to the Arbitration.”).

        Finally, addressing the seventh Pansy factor, whether the case involves issues

  important to the public, Baker Hughes argues that there is no public interest in the

  details of the private German arbitration proceeding, which is a commercial dispute

  between the parties, and that the public will be able to discern all it needs to know

  to understand this Court’s resolution of the §1782 application proceeding before it.

  Baker Hughes thus asserts that “the public has no interest in the status of,

  submissions made to, and rulings rendered in confidential commercial arbitration

  proceedings.” Id. at 16. Furthermore, Baker Hughes argues, “the public will be able

  to understand these proceedings and the Court’s rulings without the need to review




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  the confidential information at issue. The substance of the Arbitration is entirely

  ancillary to this Section 1782 proceeding.” Id.

        The arguments advanced by Baker Hughes fail to account for the fundamental

  divide established in Avandia between the Pansy standards that govern the issuance

  of protective orders under Rule 26 and the standards that govern the presumption of

  access to judicial records under the common law, let alone the even more robust

  standards that govern access under the First Amendment.

        Baker Hughes places significant emphasis on a 2017 Memorandum Order by

  Judge Burke, in The Gillette Company v. Dollar Shave Club, Inc., No. 15-1158-LPS-

  CJB, D.I. 511, Slip Op. at 4 (D. Del. Sept. 6, 2017). In that decision, as Baker

  Hughes correctly observes, Judge Burke did approve redactions regarding the

  content of certain material relating to arbitration proceedings, including the content

  of certain determinations made by an arbitral tribunal. Viewed in its entirety,

  however, Judge Burke’s Memorandum Order in Gillette largely cuts against the

  wholesale redactions urged by Baker Hughes and Storag here. Judge Burke’s Order

  in Gillette, rendered well before the Third Circuit’s 2019 guidance in Avandia,

  nonetheless anticipated the core principles that would become the controlling law in

  the Third Circuit following Avandia. Of particular importance is this passage from

  Judge Burke’s Order in Gillette:

        As for these two subcategories of information, it is clear to the Court
        that there is not good cause for redaction. This is not only because the
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         parties do not seek redaction of similar information elsewhere in the
         August 7 Memorandum Order, but, even more importantly, because
         these categories of information reflect the very crux of the parties’ legal
         dispute. That is, these proposed redactions relate to the key legal
         questions that led to the Court's August 7 Memorandum Order: did the
         2014 Agreement revoke the arbitration provision in the 2008
         Agreement, and if not, do the parties’ disputes (at issue in the instant
         litigation) fall within the scope of what should be arbitrated? With
         information like this redacted, it would be difficult for the public to
         understand the District Court’s decision, because the very issues that
         were before the Court would be obscured. See, e.g., Del. Display Grp.
         LLC v. LG Elecs. Inc., 221 F. Supp. 3d 495,497 (D. Del. 2016) (noting
         that where "[i]nformation ... was relevant to the judicial proceedin [,]"
         that weighs against the necessity of sealing); Newman v. Gen. Motors
         Corp., Civil Action No. 02-135 (KSH), 2008 WL 5451019, at *3, *8
         (D.N.J. Dec. 31, 2008) (upholding a Magistrate Judge’s decision that
         certain documents should not be sealed, and noting the judge’s
         explanation that the “public has a right to know what evidence and
         arguments were presented to the Court that led to its decision”).

  Gillette, Slip. Op. at 9.

         Judge Burke’s opinion also quoted and extensively relied upon a prior opinion

  of this Court, Mosaid Technologies, Inc. v. LSI Corp., 878 F. Supp. 2d 503, 513-14

  (D. Del. 2012), which in turn approved and relied upon a decision from the United

  States District Court for the Southern District of New York, In re Eastman Kodak

  Company’s Application, 2010 WL 2490982, at *1–2 (S.D.N.Y. June 15, 2010). That

  passage from Mosaid is also highly salient to the matters pending here:

         As the Kodak court recognized, civil judicial proceedings cannot
         effectively operate if huge swaths of judicial opinions and hearing
         transcripts are subject to redaction. . . . Yet, all the parties here have
         proposed that the Court redact the discussion of how that case should
         (or should not) apply to the present facts, because it necessarily reveals
         some of the terms of the underlying license agreements in this case. In
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        order for courts to “talk” to litigants and for the public to fully
        understand a court's precedent, how prior decisions were arrived at, and
        the similarities among cases, courts need to disclose at least some of the
        terms of the agreements—even confidential ones—that are the subject
        of the adjudication. Otherwise, our opinions and transcripts would
        become useless and devoid of context, such that even the basic nature
        of disputes would be indiscernible. Indeed, courts have recognized that
        even terms of highly confidential agreements—such as settlement
        agreements—may need to be disclosed, such as “when the parties seek
        interpretative assistance from the court or otherwise move to enforce a
        provision [of that agreement].”

  Mosaid, 878 F. Supp. 2d at 512.

        As in the observations in Gillette, Mosaid, and Kodak, all of the basic

  information surrounding the arbitration proceedings in Germany pending here

  before the Special Master go to the “crux” of the legal dispute pending before the

  District Court in this §1782 proceeding. Once stripped of any deference to German

  DIS arbitral rules, the submissions of the parties seeking sealing of the DIS Award

  cannot meet the standards for ceiling under the common law, as articulated in

  Avandia, let alone the standards applicable under the First Amendment.

        In short, the arguments advanced by Baker Hughes for sealing are not

  persuasive and must be rejected. The Pansy factors are not the proper factors to

  apply. Yet even to the extent that they still provide some residual guidance under

  the common law or First Amendment analysis, the arguments of Baker Hughes fail,

  for the reasons previously discussed at length. None of the rudimentary information

  contained in the filings of the parties, or in the First German DIS Award, qualify for


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  sealing under either the common law or constitutional standards. And to the extent

  that Baker Hughes might plausibly have isolated particularized examples of trade

  secrets or commercially sensitive information other than embarrassment or

  reputational harm, it has failed to meet its burdens of substantive specificity and

  persuasion.

        2.      The Material Sought to be Sealed is Already in the Public Domain

        There is a second, independent reason for not sealing the material at issue.

  The materials sought to be sealed have been in the public domain on the docket of

  this Court for months. Much of that material has also been revealed on the public

  docket of the United States District Court for the Southern District of Texas as part

  of the Texas litigation.

        While the parties argued in the hearing conducted before the Special Master

  that there may be revelations germane to the second pending German DIS arbitration

  that reveal matters separate and distinct from those already in the public domain as

  a result of the prior release of the first DIS arbitral award, the Special Master, having

  reviewed the record carefully, does not agree. To the extent that the redacted

  submissions of the parties reference material germane only to the second DIS

  proceedings, not the first, none of those redactions involve anything more than the

  rudimentary “who, what, when, where” materials that this Report and

  Recommendation has already found inappropriate for sealing. The Special Master


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  has not identified, and the parties have not isolated, any unique trade secrets or

  commercially sensitive information in their filings not already revealed by the

  already docketed first DIS Award, and now long in the public domain. To conjure

  Gertrude Stein, “there is no there there.”7

        “Secrecy is fine at the discovery stage, before the material enters the judicial

  record.” Baxter International, 297 F.3d at 545, citing Seattle Times Co. v. Rhinehart,

  467 U.S. 20 (1984). But once the cat is out of the bag, it cannot be put back in the

  bag. See SmithKline Beecham Corp. v. Pentech Pharmaceuticals, Inc., 261 F. Supp.

  2d 1002, 1008 (N.D. Ill. 2003) (Posner, Circuit Judge, sitting by designation) (“but

  there the cat is out of the bag, so there is no need for the settling parties to submit an

  amended redacted version.”).

        After material appears unsealed on a court’s docket, and therefore in the

  public domain, there are little, if any, plausible justifications for subsequently sealing

  the same material. See Gillette, No. 15-1158-LPS-CJB, D.I. 511, Slip Op. at 4

  (noting that some material the parties sought to seal was already unsealed in other

  submissions). “Once material is in the public domain on the public dockets of courts,

  there is little sound justification for sealing subsequent filings containing the same

  public domain material.” Milhouse v. Heath, No. 1:14-CV-01844, 2016 WL



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   Stein, Gertrude, EVERYBODY'S AUTOBIOGRAPHY 289 (New York: Random
  House, 1937).
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  9184416, at *1 (M.D. Pa. Sept. 7, 2016). “The Court can conceive of no justification

  to seal an opinion that is readily available in the public domain.” Sparman v.

  Edwards, 325 F. Supp. 3d 317, 319 (E.D.N.Y. 2018).

        These principles have particular force in the modern world of electronic filing

  and judicial dockets openly accessible to the public on government and private

  databases. Gambale v. Deutsche Bank AG, 377 F.3d 133, 144 (2d Cir. 2004) (“But

  however confidential it may have been beforehand, subsequent to publication it was

  confidential no longer. It now resides on the highly accessible databases.”). See also

  American Civil Liberties Union of Mississippi v. Fordice, 969 F. Supp. 403, 411

  (S.D. Miss. 1994) (“Regarding documents which are in the public domain, if a file

  contains only material which has already been made public, the Court finds that such

  files should remain completely open and unredacted.”); aff’d sub nom. American

  Civil Liberties Union of Mississippi, Inc. v. King, 84 F.3d 784 (5th Cir. 1996);

  Performance Chevrolet, Inc. v. ADP Dealer Services, Inc., No. 2:14-CV-2738 TLN

  AC, 2015 WL 13855488, at *1 (E.D. Cal. Feb. 27, 2015) (“Defendant has identified

  no rule, statute, case or other authority requiring that the document it filed must be

  sealed or redacted after the fact. To the contrary, the cases addressing this issue have

  denied requests to seal documents where they were already publicly filed, or where

  the information contained in the documents is already in the public domain.”) citing

  Level 3 Communications, LLC v. Limelight Networks, Inc., 611 F. Supp. 2d 572


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  (E.D. Va. 2009); Joint Equity Committee of Investors of Real Estate Partners, Inc.

  v. Coldwell Banker Real Estate Corp., 2012 WL 234396, at *2 (C.D. Cal. 2012);

  Cooke v. Town of Colorado City, Ariz., 2013 WL 3155411, at *2 (D. Ariz. 2013);

  Apple, Inc. v. Samsung Electronics Co., Ltd., 2014 WL 722489, at *1 (N.D.

  Cal.2014).

        Members of the public, and more pointedly, any competitors of either Baker

  Hughes or Storag keen on mining whatever competitive information might be

  accessible from the first DIS arbitral award, have now long had unfettered access to

  it. No order of a court can un-ring that bell. This is not just a question of “judicial

  power,” but a question of practical technological futility. “We simply do not have

  the power, even were we of the mind to use it if we had, to make what has thus

  become public private again.” Gambale v. Deutsche Bank AG, 377 F.3d at 144.

                                     V. Conclusion

        For the reasons stated above, this Report and Recommendation finds and

  recommends that the material submitted under seal in this matter should be unsealed.

  (D.I. 22, 23, 24, 36, 37, and 41). Sealing is not justified under the common law right

  of access to judicial records in civil matters.      As an alternative finding and

  recommendation, sealing is not justified under the right of access emanating from

  the First Amendment to the United States Constitution.




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